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                            TRIAL EXHIBIT 1012
                         Case 5:18-cv-07182-EJD                                                   Document 242-38                                      Filed 01/26/24                               Page 2 of 3
From: "Shahak Nagiel" <shahak.nagiel@nextcentury.com>
To: "Brad Nussbaum" <brad@graphfoundation.org>
Cc: "Diane Griffith" <diane.griffith@nextcentury.com>; "John Mark Suhy" <jmsuhy@igovsol.com>
Subject: Re: Neo4j licensing

Brad-
Thanks again, much appreciated. We have a conference call scheduled Monday with our counsel.

Have a good weekend.
-Shahak

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From: Brad Nussbaum <brad@graphfoundation.org>
Sent: Friday, February 22, 2019 3:20:16 PM
To: Shahak Nagiel
Cc: Diane Griffith; John Mark Suhy
Subject: Re: Neo4j licensing
We have been advised by The Free Software Foundation in a non-legal capacity and have verified with our legal counsel independently that the Commons Clause is a
“further restriction” to AGPLv3 and may be removed according to this clause of AGPLv3


        All other non-permissive additional terms are considered "further
        restrictions" within the meaning of section 10. If the Program as you
        received it, or any part of it, contains a notice stating that it is
        governed by this License along with a term that is a further restriction,
        you may remove that term.


and in Section 10:


        You may not impose any further restrictions on the exercise of the
        rights granted or affirmed under this License.


We cannot give legal advise on this matter and you should seek legal counsel.

Best,
Brad


        On Feb 20, 2019, at 08:56, Shahak Nagiel < shahak.nagiel@nextcentury.com > wrote:

        Sorry, my language may have been unclear. For (b), I meant a federal contractor developing custom software incorporating ONgdB as part of the
        solution for the agency. In such a case, the "sell" part of the Commons Clause may be triggered...although if the solution itself is delivered as open-
        source, then maybe that's mitigated? (Forgive the ramblings of a non-lawyer...)

        One thing I observe is that the ONgDB site does not seem to explicitly spell out what the license terms are? There are a few lines in the README file on
        the github project, though even there it's potentially ambiguous, as it mentions AGPL for the enterprise features but does not mention the Commons
        Clause.

                                        Shahak Nagiel
                                        Principal Engineer
                                        w (240) 297-5089 | c (413) 274-2425
                                        shahak.nagiel@nextcentury.com


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        If you have received this transmission in error, please notify the sender immediately.

        From: Brad Nussbaum < brad@graphfoundation.org >
        Sent: Wednesday, February 20, 2019 8:41 AM
        To: Shahak Nagiel
        Cc: Diane Griffith; John Mark Suhy
        Subject: Re: Neo4j licensing
        There is no difference between (a) and (b). Both are acceptable.
        Best,
        Brad


                 On Feb 19, 2019, at 17:07, Shahak Nagiel < shahak.nagiel@nextcentury.com > wrote:

                 Thanks, Brad. This is very helpful. We've got an internal meeting to discuss this in the next couple of days, and I will be referencing this
                 thread and your offer. I will also raise the possibility of Next Century offering to sponsor or support some of ONgDB's efforts, though
                 obviously I can't make any commitments in that regard.

                 And, not to put too fine a point on it, but is there a difference between:
                 (a) a government agency using the ONgDB distributions (presuming it developed it directly without contractors), and
                 (b) a company (like Next Century or iGov) developing a software system around ONgDB ?

                 Regards,
                 Shahak
                                                 Shahak Nagiel
                                                 Principal Engineer
                                                 w (240) 297-5089 | c (413) 274-2425                                                                                                                            Defendants'
                                                 shahak.nagiel@nextcentury.com
                                                                                                                                                                                                                Trial Exhibit
                 2701 Technology Drive, Suite 300 | Annapolis Junction, MD 20701
                 main: 443.545.3100 | fax: 240.456.0010 | www.nextcentury.com                                                                                                                                      1012
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From: Brad Nussbaum < brad@graphfoundation.org >
Sent: Tuesday, February 19, 2019 3:57 PM
To: Shahak Nagiel
Cc: Diane Griffith; John Mark Suhy
Subject: Re: Neo4j licensing
It was an internal review so there isn’t a document that can be distributed. We are conducting a similar process with other agencies. If you connect us with parties heading up
your evaluation then we can go through a similar process with them.

Best,
Brad


         On Feb 19, 2019, at 15:04, Shahak Nagiel < shahak.nagiel@nextcentury.com > wrote:

         Aha!

         Any chance I could get a copy of that? (Or, any chance we could get our govies to request it through more official channels?)

                                         Shahak Nagiel
                                         Principal Engineer
                                         w (240) 297-5089 | c (413) 274-2425
                                         shahak.nagiel@nextcentury.com


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         or taking of action based on the contents of this message is prohibited. If you have received this transmission in error, please notify the sender immediately.

         From: Brad Nussbaum < brad@graphfoundation.org >
         Sent: Tuesday, February 19, 2019 3:00 PM
         To: Shahak Nagiel
         Cc: Diane Griffith; John Mark Suhy
         Subject: Re: Neo4j licensing
         ONgDB is currently in use at US Treasury (IRS). Their legal counsel conducted a thorough evaluation of the licensing situation and arrived at the conclusion that
         Graph Foundation distributions of ONgDB could be used without needing a Neo4j, Inc. license.

         Best,
         Brad


                  On Feb 19, 2019, at 11:37, Shahak Nagiel < shahak.nagiel@nextcentury.com > wrote:

                  perspective, which defends their use of both AGPL and the Commons Clause). Are there any other sources of
                  information / guidance in this respect? e.g. have any independent or gove
